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        EXHIBIT MMM
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                                                                         EX. MMM - 001
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                                                                         EX. MMM - 002
Case 1:17-ap-01099-VK   Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                         EX. MMM - 003
Case 1:17-ap-01099-VK   Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                         EX. MMM - 004
Case 1:17-ap-01099-VK   Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                         EX. MMM - 005
Case 1:17-ap-01099-VK   Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                         EX. MMM - 006
Case 1:17-ap-01099-VK   Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                         EX. MMM - 007
Case 1:17-ap-01099-VK   Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                         EX. MMM - 008
Case 1:17-ap-01099-VK   Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                         EX. MMM - 009
Case 1:17-ap-01099-VK   Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                         EX. MMM - 010
Case 1:17-ap-01099-VK   Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                         EX. MMM - 011
Case 1:17-ap-01099-VK   Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                         EX. MMM - 012
    Case 1:17-ap-01099-VK   Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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          EXHIBIT NNN
Case 1:17-ap-01099-VK   Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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          EXHIBIT OOO
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                                                                             EX. OOO - 001
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                                State of California                                                    S
                                    Secretary of State
                               Statement of Information                                                                           FG01693
              (Domestic Stock and Agricultural Cooperative Corporations)
                            FEES (Filing and Disclosure): $25.00.                                                                    FILED
                         If this is an amendment, see instructions.
      IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                                   In the office of the Secretary of State
1. CORPORATE NAME                                                                                                        of the State of California
DIMAGIC ENTERTAINMENT, INC.

                                                                                                                               SEP-21 2016


2. CALIFORNIA CORPORATE NUMBER
                                                C3931532                                                                   This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.   If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
     of State, or no statement of information has been previously filed, this form must be completed in its entirety.
           If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
           of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.   STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                                 CITY                             STATE        ZIP CODE
26500 AGOURA ROAD NO 137, CALABASAS, CA 91302
5.   STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                            CITY                             STATE        ZIP CODE
26500 AGOURA ROAD NO 137, CALABASAS, CA 91302
6.   MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                                     CITY                             STATE        ZIP CODE


7.   EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS


Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.   CHIEF EXECUTIVE OFFICER/                  ADDRESS                                            CITY                             STATE        ZIP CODE
 ROBIN DIMAGGIO             26500 AGOURA ROAD NO 137, CALABASAS, CA 91302
8.   SECRETARY                                 ADDRESS                                            CITY                             STATE        ZIP CODE
 ROBIN DIMAGGIO             26500 AGOURA ROAD NO 137, CALABASAS, CA 91302
9.   CHIEF FINANCIAL OFFICER/                  ADDRESS                                            CITY                             STATE        ZIP CODE
 ROBIN DIMAGGIO              26500 AGOURA ROAD NO 137, CALABASAS, CA 91302
Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                       ADDRESS                                            CITY                             STATE        ZIP CODE
ROBIN DIMAGGIO             26500 AGOURA ROAD NO 137, CALABASAS, CA 91302
11. NAME                                       ADDRESS                                            CITY                             STATE        ZIP CODE


12. NAME                                       ADDRESS                                            CITY                             STATE        ZIP CODE


13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS [Note: The person designated as the corporation's agent MUST have agreed to act in that capacity prior to the designation.]
ROBIN DIMAGGIO
15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                            STATE        ZIP CODE
26500 AGOURA ROAD NO 137, CALABASAS, CA 91302
Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
ENTERTAINMENT COMPANY
17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
09/21/2016             ROBIN DIMAGGIO                                             PRESIDENT
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                           TITLE                                 SIGNATURE
SI-200 (REV 01/2013)                                                     Page 1 of 1                                       APPROVED BY SECRETARY OF STATE

                                                                                                                                                 EX. OOO - 002
    Case 1:17-ap-01099-VK   Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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             EXHIBIT PPP
            Case 1:17-ap-01099-VK                  Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08                           Desc
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                                              https://steinbrecher-span.nextpoint.com/case/30250002/printable_documents/1489




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                    Santa Claclta Valley Escrovyjn& 02-East West Banh
                                                                                     RECEIPT NO.         66438 •
                    23832 W.Vileocte Blvd,, Suite 100 , .
                    Valencia, CA.S13S5 . ,, . : ., , „
                    {fl61)2B4-?9{}0 .                                           .    ,,
                        , . ESCROW NO. 108855-N                                                    08/17/2016

                    Property: . 23777 MulhpHandHwy#163,Calaba8as,CA 81302, •


                    RECEIVED ROBIN D. DIMAQGIO CR/MART/ RICH
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            Case 1:17-ap-01099-VK                                            Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08                                                  Desc
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       Case 1:17-ap-01099-VK             Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08                                              Desc
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4/30/2018                              https://steinbrecher-span.nextpoint.com/case/30250002/printable_documents/1489




                                         SANTA CLARITA VALLEY
                                                                             Eserovr Inc.
                                          23822 W.VaIenclBBM.,SuitB 100 • Valencia, CA 91365
                                     Td; (881)284.2900 • Tel: (818)382.1819 • Fay. (661)288.2237




                   To: Santa Clarila Valley Escrow Inc.
                          23822 W. Valencia Blvd., Suite 100
                          Valencia, CA 91356
                                                                         Date
                                                                         Escrow NO. 108855-NH
                                                                                                8            ^?
                  Property Address: 23777 Mulholland Hwy#163 Calabasas, CA 81302


                                                           THIRD PARTY DEPOSIT

                  I hand you herewith the sum of ¥1,000.00 which
                  use for Ihe account of and subject to the Instruc      o( Buyer, MartyRlch.who Is the purchaser in said
                  escrow, If said escrow Is consummated,

                  In the event that this escrow Is not consummated, It Is undarstood that ail funds deposlteci In this escrow,
                  Including the above menUoned funds, shall be disburssd ONLY In accordancewjlh mutually signed
                  dlsbursemenVcanoetlaUonlristnicttons-bFNpW^
                  any costs and charges Incurred.

                  The untfarelgned THIRD PARTl' acknowledgw recelpCoifa copy p( thlaInstruction,

                                                                            ffl-TENTION CUSTOMERS:
                   BUYeft:                                                   PLEASE, SIGN THIS DOGUMENT BEFQRE A NOTARY
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                                                                                                     Escrowr l»e»

                                                        Telephone No.     —^-m-sitfr'
        Case 1:17-ap-01099-VK                 Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08                                              Desc
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                 CALIFORNIA AU.-PUHPOSE ACKNOWLEDGMENT                                                              CIVIL CODE § 1189


                   A riotaiy public or olhar officer compleUng this CBrtffioate veriftoa only the Identity of the Individual who signed the
                   document to which ftte certificate Is attached, and not tha trulhfulness, accuracy, or validity pr that document.


                 State of California
                 County of _ IflS AtfeeLE,
                 On                 a®^crt
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                 p^mlly appeared fflfiS^ ^SA ^                             I^AWlA^G
                                                                               Name(s) pfSlgnt


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                 ay^acribed to the within Instrument and aoknowlaflgyt to meltoafji^K^Bigj' executed th? same In
                 yi^U^r/lheir authorized capacdyfles), and that by Ki&WirAheIr s|gnature(s) on the tnstrument the person(s),
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                                                                            I certlly under PENAUY GF PERJURY under the laws
                                                                            of the State of California that the foregoing paragraph
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                 Signer Is Representing;.                                        Signer la Representing:, - './ ;'• ....



                 ©2014 National Notaiy Association • www.NattonalNotaiy.prg • 1-80P-US NOTARY (1.aoo-878-6B27) Item #5907
       Case 1:17-ap-01099-VK     Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08             Desc
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iINC. Al3A3                SET up·oa/20/16     29120 MEDEA LANE            23822 w. VALENCIA ---  .
!BLVD       03:50PM          #1306                 SlJITE 100                        CA .
i$251,370.00        AGOl,JRA HILLS CA 9130i           VALENCIA, CA 91355              1
            -           PHONE                                               CONS CHECKING        ACCT#
                          SETUP BY P41934i1 SIRYANl,MAR'iAM             APPROVED BY .P9eQ5SIB
I G.ERWIN;GHELSEA LEE     P274.$27i. EBY,ALJCJA             $0.00 FEE   ESCROW OFFICER: NANCY            I

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        Case 1:17-ap-01099-VK                   Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08                            Desc
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                                                 RECEIPT OF FUNDS WIRED IN
                               •;1



             Bank: 0!2-East West Bank

                  •Santa'CIaiJta Valley Escrow Inc.
                  23822 W. Valencia Blvd., Suite 100
                  Valencia,'CA 91365
             ,,.(661)284-2900

             propBrty: 23777 [mulholland Hwy#163, Cslabagas, CA 91302

                 ESCROW NO.: 1                                                     RefNo.: 15095


                 Date: 08/22/2016                                                  Amount? **M2S1,370.00
                 Issued By: •Nancy Hawldns


                 Received from: ROBIN C DIMAGOIO CR/ WWVf RICH



                 Received in behalf 61;      BUYEFVBORROWER

                 Earnest Money.

                 Description
        Case 1:17-ap-01099-VK               Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08                                           Desc
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               WireAc~Detailform                                                                                            Page 1 of2


                                                           New Wire Activity Detail


                Credit                                                                                         Value
                Amount; $261,370.00                 C:urrency: USO
                                                                                                               Date:        8i22/16
                Cred;t
                A;cc~nt                             Host Ref                                                   Payment
                #:                                  #:.                                                        Method:      fED
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                                                                 29120 MEDEA
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                                P@ymentDetallS                   ESCROW OFFICER: NANCY HAWKIN~gSC"ROW


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                          Account                      Totl!l Debit Amount            To~I Criidlt Aml)1.1nt
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              https://eastwestbank.webcaslungmtcom/wcmpr/wireacccletailformJsp?SOURCE=NEWW... 812212016




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            Case 1:17-ap-01099-VK                Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08                                Desc
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                                                                       C&.ARITA WAUEY
                                                                                Eserewr Inc.
                                              Z3B22W. Valencia Blvd., Suite 100 • Valencia, CA 81366
                                        Tel: (661) 284-2900 • Tel: (818) 362-1919 • FBX: (661);




                     To; Santa CtaritaVallay Escrowlnc,                     Dale; Auaust22,2016
                           23822 W, ValendaBlvd., Suite 100                 EscrpwNo.1
                           VBlBncla. CA 91355




                     Property Address! 23777 Mulholland Hiwy #163 Calabasas, GA 91302


                                                              THIRB PARTY DEPOSn'

                     I hand ypu nerewlth the sum oft261,370,00 which you are to depoatt lo Iho above numbered a
                     use for the accounl of and subject tothsinBiructionBofBuyer, Marty Rich, who Is the purcheBer In said
                     escrow, It said escrow Is consummated.

                     In the event that this escrow Is not consummated, it Is underEload that all funds deposited In this escrow,
                     including the ebovs menllonad funds) ahaU ba disbursed ONLY in accordance wllh mutually signed
                     dteburssmenVcsncenaUonJhslnielIonG of ihe principals harelo^
                     any costs and charges inciirrsd.

                     The undersigned THIRD PARTY acknowledgM recslpl of a copy of this Instruction,




                     y^ft^

                     THIRD P/tffTY:

                     ROBIN D. I
                                                               ' Addre^ ^^?- ^^^ e&^/}^-
                                                                                A^ W ^> <?
                                                           Telephone No. __?M.
             Case 1:17-ap-01099-VK                      Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08                                                            Desc
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    Case 1:17-ap-01099-VK   Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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Sequenceff                         R/T#                       Accountff            Check#             Paid Date                                                                                  Amount
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 Case 1:17-ap-01099-VK                          Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08                                                                                           Desc
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Sequence#                  R/T#                        Account#                               Check#                                   Paid Date                                          Amount
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                                                                        04/03/2018 16 :07

Sequence#     R/T#         Account#      Check#       Paid Date                Amount
1100142565    3110020                    313981768    02/02/2017              $ 1522.00


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Sequence#                         R/T#                      Account#        Check#                        Paid Date                                                  Amount
1300640428                        3110020                                   314352278                     12/04/2017                                               $ 1516.00
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Sequence#                       RfT#                      Account#              Check#           Paid Date                 Amount
 1100524900                     3110020                                         314404439        03/02/2018               $ 1592.00




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                              AGOURA HILLS, CA 91301              ./V ^ -3-l '2^,^-
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R/T#:                                             Account#:38762924
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Sequence#     R/T#           Account#             Check#                     Paid Date
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 Sequence#                          R/T#                             Account#                      Check#                                   Paid Date                              Amount
 1100305464                          3110020                                                       314182195                                08/14/2017                             $161.69



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 Sequence#     RIT#          Account#     Check#       Paid Date                                        Amount
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 Sequence#                      RIT#                        Accoljnt#          Check#                  Paid Date                                                   Amount
 1100520045                     3110020                                        314270708               10/11/2017                                                 $ 148.17
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Check Image Results                                                                                                                                            Page 1 of2




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Check Image Results                                                                                                                       Page 1 of2




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                                    Account#                     Check#·                             Amount               Paid Date   Sequence#
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 R/T#:                                       Account#:38762924
 Checks:
 Sequence#        Rrr#          Account#     Check#        Paid Date                      Amount
 1200298784       3110020                    314404097     01/31/2018                      $ 30.00
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 Sequence#    RIT#          Account#    Check#         Paid Date                  Amount
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Sequence#                        R/T#            Account#            Check#                  Paid Date                                     Amount
1100411526                       3110020                             314404435               02/26/2018                                   $ 103.21 .


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Sequence#                  RIT#         Account#       Check#      Paid Date            Amount
1100722826                 3110020                     314404386   03/02/2018           $ 100.00




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Sequence#                     RIT#                      Account#                                        Check#                                        Paid Date                 Amount
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Sequence#                          Rff#                   Account#                           Check#                        Paid Date                     Amount
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               DIMAG1C ENTERTAINMENT, INC.
                               5737 KANAN RD #117
                             AGOURA HILLS, CA 91301



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                       TOYOTA MOTOR CREDIT CORPORATION
                               3200 Weot Ray Road          BANK OF AMEAIOA OUSTOMEflCONNECTION
                               Chandler, AZ e522a          l~N...11:1~.AtM~feAc~~irrt. GEORGIA   No. 24751598

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                       TOYOTA MOTOR CREDIT CORPORATION
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Case 1:17-ap-01099-VK                              Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08                                                              Desc
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Case 1:17-ap-01099-VK                                    Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08                                                                                             Desc
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       SANTA ANA. CA 92799-25001
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 1100169637   3110020                   314270707    10/11/2017              $ 200.00




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Case 1:17-ap-01099-VK                  Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08      Desc
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                                                                                     04/03/2018 15:32

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   Case 1:17-ap-01099-VK               Doc 50-10 Filed 07/23/18 Entered 07/23/18 17:02:08                                 Desc
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Check hnage Results                                                                                                       Page 1 of2




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